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14   CITY AND COUNTY OF SAN FRANCISCO, et al.

15                                 UNITED STATES DISTRICT COURT

16                               NORTHERN DISTRICT OF CALIFORNIA

17    COALITION ON HOMELESSNESS; TORO                Case No. 4:22-cv-05502-DMR
      CASTAÑO; SARAH CRONK; JOSHUA
18    DONOHOE; MOLIQUE FRANK; DAVID                  DECLARATION OF SARAH LOCHER IN
                                                     SUPPORT OF DEFENDANTS’ MOTION TO
      MARTINEZ; TERESA SANDOVAL;                     DISMISS THE THIRD AMENDED
19
      NATHANIEL VAUGHN,                              COMPLAINT
20
             Plaintiffs,                             Hearing Date:       February 13, 2025
21                                                   Time:               1:00 p.m.
             vs.                                     Place:              Courtroom 4 – 3rd floor
22                                                                       1301 Clay Street
      CITY AND COUNTY OF SAN                                             Oakland, CA 94612
23    FRANCISCO, et al.,
                                                     Trial Date:         July 28, 2025
24           Defendants.

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      DECL. LOCHER ISO CCSF’S MTD TAC                                         n:\govlit\li2024\230239\01808074.docx
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 1          I, Sarah Locher, declare as follows:

 2          1.      I have personal knowledge of the matters stated, and if called to testify, I can and will

 3   testify competently as to all matters set forth herein.

 4          2.      I am the Deputy Director of Planning, Performance, & Strategy for the San Francisco

 5   Department of Homelessness and Supportive Housing (“HSH”). I have held my current role since

 6   October 2024. Prior to that, I was the Manager of Data & Performance between June 2022 and

 7   October 2024, and previously led the team as a Principal Administrative Analyst from March 2017 to

 8   June 2022. Prior to HSH, I was a Senior Administrative Analyst for Performance and Business

 9   Support at the San Francisco Municipal Transportation Agency. Before coming to work for the City

10   and County of San Francisco, I worked as a Management Analyst for the Presidio Trust. I have a

11   Master of Public Policy (MPP) degree from the University of California, Los Angeles.

12          3.      As the Deputy Director of Planning, Performance, & Strategy, my responsibilities

13   include overseeing the maintenance and analysis of data in the Online Navigation and Entry System

14   (“ONE”). The ONE system is a database that satisfies U.S. Department of Housing and Urban

15   Development (“HUD”) requirements to maintain San Francisco’s Homeless Management Information

16   System (“HMIS”). It is HSH’s system of record for information about interactions and services offered

17   and provided to people experiencing homelessness.

18          4.      Certain HSH employees, including myself, have access to query the ONE system to

19   determine, among other information, the current and past housing status of individuals in City-

20   provided housing and shelter programs. This information is maintained by HSH as part of its regular

21   operations, and recording the information contained in ONE is a regular practice of HSH.

22          5.      People experiencing homelessness in San Francisco have myriad shelter and housing

23   programs available to them. In evaluating housing status and history, data can be categorized in three

24   general program types: (1) Emergency Shelter; (2) Transitional Housing; and (3) Permanent Housing.

25   Emergency Shelter is an umbrella term for indoor facilities that provide a temporary place to stay

26   while people access services and look for housing. Transitional Housing provides a temporary place to

27   stay and access intensive services for up to two years while they work to end their homelessness.

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 1   Permanent Housing is a community-based housing model, the purpose of which is to provide housing

 2   without a designated length of stay.

 3          6.      On December 20, 2024, I reviewed information contained in ONE to determine the

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 6                                             My query revealed the following results:

 7                      a. Toro Castaño was in Emergency Shelter between December 1, 2022 and April

 8                           29, 2023, August 22, 2023 and January 3, 2024, and January 26, 2024 through

 9                           the present.

10                      b. Molique Frank has been in Emergency Shelter since March 25, 2022.

11                      c. Sarah Cronk (also known as Apple Cronk) was in Emergency Shelter between

12                           March 16, 2022 and June 13, 2022, and January 5, 2023 and July 19, 2023, and

13                           Transitional Housing between December 5, 2023 and September 30, 2024.

14                           Since October 1, 2024, Ms. Cronk has been in Permanent Housing.

15                      d. Joshua Donohoe was in Emergency Shelter between February 2, 2023 and April

16                           1, 2023, and Transitional Housing between December 6, 2023 and September

17                           30, 2024. Since October 1, 2024, Mr. Donohoe has been in Permanent Housing.

18                      e. David Martinez was in Emergency Shelter between May 20, 2021 and October

19                           1, 2021, and February 9, 2022 and March 1, 2022. Mr. Martinez has been in

20                           Permanent Housing since January 17, 2023.

21                      f. Teresa Sandoval has been in Emergency Shelter between September 1, 2022

22                           and September 28, 2022, December 12, 2023 and January 3, 2024, March 20,

23                           2024 and April 1, 2024, and June 11, 2024 through the present.

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 8          I declare under penalty of perjury under the laws of the United States that the foregoing is true

 9   and correct to the best of my knowledge.

10          Executed December 30, 2024, at San Francisco, California.

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                                                SARAH LOCHER
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